                                                                     CLERK'S OFFICE U.S.DIST.COURT
                                                                            AT ROANOKE,VA
                                                                                  FILED

                                                                            FE8 25 2219
                    IN THE UNITED STATESDISTRICTCOURT U;
                                                       ULIW UDLEXCLERK
                    FOR T H E W ESTE RN D ISTRICT O F W RGIN IA                E    C
                             H ARRTSON BU RG D IW SIO N

 LY N D A L.M IN IG ,

       Plaintiffy
                                                CivilAction N o.5:18-cv-82
 V.


 PA GE CO U N TY,W RGIN IA,

       D efendant.                          By: M ichâelF.U rbansld
                                                ClziefUnited StatesDistrictJudge
                             <   M O R AN D U M O PIN IO N

       TllismattetcomesbeforethecourtonDefendantPageCounty,Virginia'srTage
 Countf')objecdons,ECF No.43,toUnitedStatesMagistrateludgeyloelC.Hoppe'sotder,
 ECF No.42,oflanuary7,2019,broughtpursuanttoRule72oftheFederalRulesofCivil
 Procedure.Thisdiscoverydisputeadsesfrom PlaindffLyndaL.M inke'smodon tocompel
 discovery and obtain inform aion aboutdiscussionstegatcling herem ploym entdlzting a

 closed-meeéngofthePageCountyBoardofSuperdsors(<%oatd''lheldonlune2û,2017,
 afterwhich theBoard voted to terminate M inke'sem ploym ent.M inkeissued interrogatodes,   .




 specifically Interrogatory N o.9,to D efendantPage County and deposed Am ityM oler,the

 PageCountyAdministrator,and tlaeemembersoftheBoard,lohrmyW oodward,Larry
 Foltz,and D avid W iatrow sld,on thisissue.In responfling to InterrogatoryN o.9,aswellas

 dlxringdeposidons,PageCountyobjected to thedisclostueoftheclosed-meetingdiscussions
 on two gtounds,clliming:(1)thediscussionsateexemptftom disclosuteundertheVizgml
                                                                              ' 'a




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 Freedom ofInformationActrTFOIA'?),Va.CodeAnn.j2.2-3700,.
                                                        :.1seq.,and(2)that
 they ateprotected by the attorney-clientpdvilege.

       Onlanuary7,2019,JudgeHoppeissuedawrittenopinionandordergrantlng
 Minke'smodontocompel,requitingthat(1)deposidonsbereconvenedwherePageCounty
 hadinstructedthedeponentsnotto answerqueséonsditected to thesubstanceofthelune
 20,2017closedmeeting,(2)thatPageCountyanswezlntertogatoryNo.9,and(3)thatPage
 County provide aprivilegelog in connecdon wit.h itsinvocadon ofthe atozney-client

 privilege.IntbisopH onandorder,ludgeHoppereliedonacasefrom theSeventhCircuit
 holding thatan Illinoisstate statutem aking unem ploym ent-com pensaion ptoceeclings

 conhdendaldid notcteate aprivilege from disclosing thoseproceedingsin federalcourt

 liégation where federal1aw govezned.E.E.O .C.v.111.D e t.ofEm 'tSec.,995 F.2d 106,

 107-09 C/th Cir.1993).Forreasonsdifferentthan thoseatdculated byludgeHoppe,the
 courtfindsthattheVFO IA doesnotby itsterm scteate aseparateprivilegeallowing Page

 CountytorefusetoproducediscoveryptusuanttoRule26$)oftheFederalRulesofCivil
 Procedure.Accordingly,PageCounty'sobjecdonisOVERRULED.
                                             1.

       Rule72(a)oftheFederalRulesofCivilProcedtuepermitsapattyto submit
 objectbnstoamagisttatejudje'sm'lingonnonctisposiévematters,suchasdiscoveryordets.
 Fed.R.Civ.P.72(a);see28U.S.C.j636(b)(1)(A).Asanon-disposidvematter,thereview of
 amagistratejudge'sdiscoveryorderisgoveznedbytheTfclearlyerroneous':orT<contratyto
 law''standard ofreview.ld.Onlyifamagisttatejudge'sdecision isffclearlyerroneousor
 contrarytolaw?'mayadistdctcouttjudgemodifyorsetasideanypordonofthedecision.
                                                  2
Case 5:18-cv-00082-MFU-JCH Document 52 Filed 02/25/19 Page 2 of 9 Pageid#: 354
 Id.A court'sTrfl
                nclitng isfclearly etroneous'when although thereisevidenceto supportit,the

 zeviewing coutton the entiteevidenceisleftwith thedehniteand 9= convicdon thata

 mistakehasbeen com m itted.''United Statesv.United StatesG    slzm Co.,333 U .S.364,395

 (1948)9seealsoHarmanv.Levin,772F.2d1150,1152(4thCit.1985).fflnlightofthebroad
 disctedongiventoamagistratejudgeintheresoludonofnondisposiévediscoverydisputes,
 thecolnrfshouldonlyovertnlleamagisttatejudge'sdetetminadonifthisdiscredonis
 abused.''Shoo v.Hott,2010WL 5067567,*2 (N.D.W .Va.Dec.6,2010)(citlngDetecdon
 S s.Inc.v.Pittwa Co .,96F.R.D.152,154 (W.D.N.Y.1982)).
                                            II.

       FederalRuleofCivilPzocedute26$)(1)pet-mitsdiscoveryofffanynonprivileged
 m atterthatisrelevantto any party'sclnim ordefenseand propordonalto the needsofthe

 case.''Fed.R.Civ.P.26($(1).TfT'heobjecdngpartycarriesthebutdenofprovingthatthe
 chaEenged discoveryptoducdon should notbepetm itted.''Ca italO neBank N .A .v.H ess

 Kenned Chartered LLC,No.3:08cv147,2008U.S.Dist.LEM S 76385,at*4-5 (E.D.Va.
 Sept.30,2008).PageCountyassertsthatVFOIA createsaffprivilege''cognizableunderRule
 269$(1),andclnimsthatallowitlgdiscoveryastotlaesubstanceoftheJune20,2017Board
 meedngwould(1)fTallow aplaindfftocircllmventthisstatepdvilegesimplybyftlingsuitin
 federalcourt''and(2)dfthwat'
                            tVirgtu
                                 ''a'sstattztoryscheme....''ECFNo.43,at1.Page
 County,however,im properly assertstheVFO IA asa ffprivilege''in responseto M inke's

 modonto compel.PageUountycitesno caselaw considedngwhetherinformationthat
 mightbeprotected fzom disclosure underthe'VFO IA isalso privileged it'
                                                                      lacivilcasewhen

 requested aspartofthe discoveryprocess.

                                                  3
Case 5:18-cv-00082-MFU-JCH Document 52 Filed 02/25/19 Page 3 of 9 Pageid#: 355
       TheVFOIA unlikeotherVirgM
                               'u'astatutes,doesnotindicatean intenton thepartof
 theVizgirzia GeneralA ssem bly to createan independentpzivilege ofthe soztasserted by

 PageCounty.Virgillia'sunemploymentcompensatbn statute,Va.CodeAnn.j60.2-100Mt
 iqq-
 .  .lirgitziaUnemploymentCompensadonAct),bycontrast,includesaspecifk provision
 creating apdvilegeoftheldnd Page County urgesthe couztto ftnd in theVFO IA.Va.Code

 Ann.j60.2-6237),inrelevantpart,states:

              lnform adon flltzzished the Com m ission undettheprovisionsof
              thischapter shallnotbepublished orbeopen to public
              inspecdon,othetthan to public em ployeesin theperfo= ance
              oftheirpublic dudes.N eithersuch info= atbn,norany
               deternainadonordecisionrenderedundertheprovisionsofj
               60.2-619,60.2-620or60.2-622,shallbeusedinanyjudicialor
              aclm inistradveproceeling othezthan one arising outofthe
              provisionsofthisdtle;however,the Com m ission shallm akeits
              zecotdsaboutaclnim antavailable to theW orkers'
              Com pensadon Com m ission ifitrequestssuch records.The
              Com m ission m ay also,in itsdiscredon,fl'tnish copiesofthe
              transcriptofheo ngsto anypatty.


 Va.CodeAnn.j60.2-6237).Here,theinclusionoftheexplicitlanguage,ffshallnotbe...
 useditzanyjudicialproceerlingotherthan oneadsingoutoftheprovisionsofthisdtle...,''
 explicitlyprobibitsplaindffsfrom using statem entssubm itted to theVirginiaEm ploym ent

 Commission (<TEC'')in civilacdons,such asthoseitwolving defamadon clnims,etc.See
 Shabazzv.PYA Monarch,LLC,271F.Supp.2d 797,802-03 (E.D.Va.2003).Nllmerous
 couttsintelw edngVa.CodeAnn.j60.2-6237),la0t.
                                             h stateandfederal,haverecognized the
 preclusive effectofthisstataztory language,and refused to considerany statem entsm adein




                                                4
Case 5:18-cv-00082-MFU-JCH Document 52 Filed 02/25/19 Page 4 of 9 Pageid#: 356
 zeladon to apêoceeding befoze theVEC based on thisstam te.SeeM oozev.PYA M onazch,

 LLC,238F.Supp.2:1724,728-29(E.D.Va.2002)(collecdngcases).
       In Kon'evichv.Washin S s.Inc.,23F.3d 401(4th Cit.1994),forexample,the
 plaindffarpzed thatthe disttictcotutetred by refusing to considera reportsubm itted by the

 plaindff'sem ployetto theVEC.TheFourth Circuit,acknowledging thatthisreportwotzld

 supporttheplaindff'stheoryofhistetminaéon,nonethelessheldthatVa.CodeAnn.j60.2-
 623 expncitly ffprecludestheuse ofinform adon pzovided to theVirginiaEmploym ent

 Commissioninanyjudicialoradministraéveproceeflinp''Id.Inresponsetotheplnindff's
 argamentthat,pursuanttoErieRailroadv.Tom ldns,304U.S.64(1938),thedistdctcourt
 shouldhave(1)considered federalprocedurallaw,ratherthan thisVirginialaw,and (2)
 allowed therepol'tto beaHmittedinto evidence,theFoutth Citctétstateàthatitffdoesnot
 agreethatEdewould pe= itafederalcourtto ignore astate statm eregatcling state

 aclministtadvepolicy.''LdaFindingno errot,theFollt'th Circuitaf6rmed thedisttictcoutt's

 hnclingthattherepottin quesdon wasinadmissible.ld.

       Hete,PageCountyteliesonVa.CodeAnn.j2.2-3711(A)(1),aprovisionofthe
 VFO IA,which allow sforclosed m eetingsduring which the public m ay bedenied access

 underthefollowing circllm stances:

              D iscussion,consideradon,otinterviewsofprospecdve
              candidatesforem ploym ent;assigmnent,appoin% ent,
              prom odon,perform ance,dem otion,salaties,disciplining,or
              resignatbn ofspecihc publicofûcers,appointees,orem ployees
              ofany publicbody;and çvaluadon ofperform anceof
              depnrtm entsorschoolsofpublicinstitudonsoflligher
              educadon where such evaluadon willnecessarily involve
              iscussion ofthe petfo= anceofspeciûcindividuals.


                                                 5
Case 5:18-cv-00082-MFU-JCH Document 52 Filed 02/25/19 Page 5 of 9 Pageid#: 357
 Va.CodeAnn.j2.2-3711(A)(1).Nowhereit'lthisprovision,oranyotherprovisioncitedby
 PageCounty,istherelanguagealongthelinesofthatfoundinVa.CodeAnn.j60.2-6237),
 discussed w pza,evincing an intentby theVirgitaia GeneralAssem bly thatm eetingsclosed to

 thepublicpursuantto thisstatutealso beprotectedbyan independentTfpzivilege.r'In other
 wotds,theVitginia GenetalA ssem bly,knowing how to create affprivilege''ofthe sort

 posited byPage County,and having specihcally done so in no lm certain term sin other

 stamtes,includingVa.CodeAnn.j60.2-6237),didnotdosoinVa.CodeAnn.j2.2-
 3711(A).Statedsomewhatdiffetently,Va.CodeAnn.j2.2-3711(A)(1)doesnotcont/in
 pzeclusivelanguage sim ilatto thatwllich theFolzrf.h Circuitzecopuz
                                                                   ' ed asproscribing

 disclosure oftherepottsubmitted to theVEC in K on'evich v.W ashin S s. Inc.,23 F.3d

 401 (4th Cir.1994).
       Furtherm ore,fedetalcotutsintem redng state statm esem ploying sim ilarstatm ory

 languageto the W RO IA haverefused to infersuch a privilege fordiscussions,docllm ents,

 etc.,created in thecontextofclosed m eedngswhere thereisno explicitstatutorylanguage

 protecdngsuchmaterialfzom disclostuein civillitkadon.CityofGrandview v.Missolati
 GasEner ,No.4:11-CV-00822-BP,2012W L 12897093,at*1(W.D.Mo.Sept.10,2012),
 forexam ple,concetned asuitin which thedefendant,through am odon to com pel,sought

 docplm entsand deposidon testim ony from theplaindff,am unicipalgovernm ent.Thepardes

 disputedwhethertheMissolzriOpen MeetingsandRecordsAct,Mo.Ann.Stat.j610.021(1)
 (West),also known astheSunshineLaw,created anindependentprivilegepzotecdngthis
 m aterialfrom disclosure d'lting civildiscovery.1d.The specihcM issouristataztoryprovision

 itaquesdon,dtled ffclosed m eedngsand closed recordsauthodzed when,excepdonsy''

                                                 6
Case 5:18-cv-00082-MFU-JCH Document 52 Filed 02/25/19 Page 6 of 9 Pageid#: 358
 allowedtheplnindff(municipalgoveznment)tocloserecordstotheextenttheyrelateto
 ffgllegalacéons,causesofacéon orlidgadon involvingapublicgovetnmentalbodyandany
 conhdendalorprivileged com m unicatbnsbetween apublicgoveznm entalbody orits

 repzesentadvesandattozneys....''Mo.Ann.Stat.j610.021(1)(West).LiketheVitgml
                                                                          ''a
 statutoryatissueit'ltlliscase,theM issolnristatute also included an
                                                                   ' analogousprovision

 allowing thegovernm entto close employm ent-related recordsconcerning:

               H iting,flring,disciplining orprom odng ofpatticularem ployees
               by apublicgovernm entalbodywhen personalinform adon
               abouttheem ployeeisdiscussed orrecorded.H owever,anyvote
               on aEnaldecision,when taken by apublicgovernm entalbody,
               to hire,& e,prom ote ordisciplinean em ployee ofapublic
               governm entalbody shallbe m adeavailablewitlaarecord of
               how eachmembetvotedtothepublicwithinseventhtwohours
               oftheclose ofthe m eedngw here such acéon occuzs;provided,
               howevçr,thatany em ployee so affected shallbe endtled to
               ptom ptnotice ofsuch decision d'lting the seventr two-hour
               pedod before such decision ism ade available to thepublic.

 Mo.Ann.Stat.j61û.021(3)(West).
        ThecouttinCityofGrandview,althoughonlyaddressingMo.Ann.Stat.j
 610.021(1)(West)specifically,notedthattheploindffcitednocaselaw considetingwhethet
 docllmentsand/ortesdmonythatmightbeptotected from disclosureundertheSunshine
 Law generally colzld also be privileged in acivilcasewhen requested dtuing discovery.N o.

 4:11-CV-00822-BP,2012W L 12897093,at*1(W.D.M o.Sept.10,2012).Thecourtnoted
 thattheU nited StatesSuprem e Colxtthasheld thatfffederalopen recordslaw sdo notcreate

 an independentpdvilegeon which thegovernm entcan rely to withhold doclxm entsthatare

 otherwise discovezable in civillidgadon.''Ltk(citingChamberofCommerceofU.S.v.Le al
                                           .




 Aid Soc.ofAlamedaCounty,423U.S.1309,1310-11 (1975)(finflingthatwhen the
                                                  7
Case 5:18-cv-00082-MFU-JCH Document 52 Filed 02/25/19 Page 7 of 9 Pageid#: 359
 producdon soughtisnotputsuantto the Freedom ofInform adon Actbutisinstead partof

 adiscoveryeffort,theonlycbimsofprivilegeareunderFed.R.Civ.P.26(c)becausetheAct
 itselfcreatesnopdvilegesl).Thecouttfutthernoted thatalthough Missouticourtshadnot
 directly addressed theissue,atleastone cout'tquesdoned whethertheSunshineLaw

 operated in a civildiscoverycontext.UlHm ately,becausçitw asTfunclearthatthegovernm ent

 can use the actasan independentprivilege during civl
                                                    'ldiscovery ...,''the Ci of

 Grandview courtdeclined to create such aprivilege.JIL
                                                     -.




       H eretoo,atam inim llm ,itisunclearwhethertheVF0 IA createsan independent

 ffpdvilege''insulatingtheBoard'sdiscussionsonlune20,2017ftom disclosureincivt
                                                                             'l
 M gaéon.Forthatreason alone,thecourtcould fmd thatludgeHoppe'sJanuaty7,2019
 ordezand opinion arenotfrclearly erroneous''orTfcontzaryto lam ''ThattheVirgml
                                                                             ' 'a

 GeneralA ssem bly cteated such a fTprivilege''thtough explicitlanr agein otherstam tes,

 including theVitginiaUnem ploym entCom pensadon A ct,suggeststhatitclid notintend to

 im buetheVFO IA with asim ilarprivilegeto thattecognt
                                                     'zed by the Folll'th Circuitin

 Konjevich.Here,asin CityofGrandview,thecolzrtcannot,andwillnot,inferanysuch
 privilege.Indeed,none ofthe casescited by Page County favortecognidon ofaprivilege

 undertheVFO IA.H aving detetmined thatno such privilegeisapplicable,thecourtneed

 notreachtheissueofwaiver.Finally,PageCountydoesnotappeartoclisputeludge
 H oppe'sholcling regatding itsinvocation ofthe attotney-clientpdvilege.Fotthe fotegoing

 reasons,PageCounty'sobjecdonsareOVERRULED.
        An apptopdate ORD E R willbeenteted.



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                                    United StàtsDistdctluage




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